 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 1 of 31
Ag 106 (ite. Ht 5) ACidayir for Seach Wena

United States District Court

WESTERN DISTRICT OF WASHINGTON

Tn the Matter of the Search of APPLICATION AND AFFIDAVIT
{Mome, addres of brief description ull person, property, or prentiges 1 be searched) FOR SEARCH WARRANT

See Atlachment A, which is attached hereto and 5-30 zz72mM.
and incorporated herein by reference CASE NUMBER: @&

 

is te Daa.

Soden

| FER 29.2005

ae ne

xt

1, ROBERT 1 ALLEN being duly swom depose and say:
racY OF apgyeas TON ay TACT

Tam a Special Agent, Drup Enforcement Admimistration, and have reason to believe HERE ‘or cn 1 thc “person of.or (XJ"6n

the property kaovwn ag (name, derceiptian sandler Incation}

Sec Attachment A, which is attached hereto and incorporated herein by reference

in the Western District of Washington, there is now concealed a certain person or property, namely:
{describe (Ae PEON oe property Wy be se(zed)

See Aitachment B, which is attached hereto and incorporated herein by reference

which is (alge one or more bods for serch nnd seisure de7 forth under Rule $1(b) of the Pederal Rules of Criminal Procedure}

concetning g violation of Title 21 United Slates Code, Section(s) 341(4)(1), 843(b), 846, and 856. The facts to support a finding
of Probable Cause arc as follows:

See attached AFFIDAVIT OF ROBERT J. ALLEN, attached hereto and incorporated herein by reference

Mf

].LEN, Special Agent, DEA

Continued on the attached sheet and made a part hercof, (X) ¥es (} No

   

Signature Lh i
ROBERT ¥

Sword to before me, and subscribed in my presence:

 

 

February 17, 2005 at Vancouver, Washington
Date City and State

GILBERT KLEWENO
United States Mavisirate Judve
Nartne and Title of Judicial Officer

   

Signature of Judicia

YC OOH) OY RY UL AD A
UATE ATT ORT A

05-M.I-05032-A PP

  

 

 
Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 2 of 31

 

ATTACHMENT A

PROPERTY TO BE SEARCHED

1. 1055 CLOVERDALE ROAD, KALAMA, WASHINGTON

1055 CLOVERDALE ROAD, KALAMA, WASHINGTON is described as a
residential two story, wood framed, dwelling, brown in color,
with white trim. The dwelling is located on a multi acre parcel
of property, west of Cloverdale Road and is accessed by a dirt
read. The property contains one large outbuilding/pole
barn/garage south and east of the residence that is gray in
color with a tin roof and is further referenced by attached
photograph,

 

2. THREE OUTBUILDINGS LOCATED ON THE REAL PROPERTY AT 129
VINCENT ROAD, KALAMA, WASHINGTON

THREE OUTBUILDINGS LOCATED ON THE REAL PROPERTY AT 129 VINCENT
ROAD, KALAMA, WASHINGTON are deseribed three outbuildings
located in close proximity to each other and are further
deseribed as: 1) the northern most outbuilding is blue metal
building with a white roof and no windows; 2) the second
outbuilding is gray/white in color with a white roof, the front
door is red and no windows; 3) the third outbuilding is a small
brown wooden building with a tin roof and no windows. All three
out buildings are located south of Vincent Road, east of a
private easement road which accesses several other private
parcels and residences. The front doors to all three

 

on reese cna

 
Case 3:05-mj-05032-GHK Document 1 Filed 02/22/05 Page 3 of 31

outbuildings face west and are further referenced by attached
photograph.

 

3. 1979 Red Chevrolet Pickup, Washington License A546020E,
VIN/CCD1467152903 further deacribed by attached photographe.

 

4. 1990 Yellow Ford van/Truck, Washington License A21529E,
VIN / 1 FDRE37¢G5LHB21297

 

 

 

bo
 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 4 of 31

ATTACHMENT B

The following records, documents, and other items, in whatever form, that
constitute instrumentalities, fruits, and evidence of violations of Title 21, United States
Code, Sections 841(a)(1), 843(b), 846, and 856:

(a) Controlled substance ledgers, or money ledgers, controlled substance
distribution lists or customer lists, controlled substance supplier lists, correspondence,
notations, logs, receipts, journals, books, ledgers or other documents nating the price,
quantity and/or times when controlled substances were obtained, transferred, sold,
distributed and/or concealed:

(t) Personal telephone and address books and listings, letters, cables,
telegrams, telephone bills, personal notes and other items reflecting names, addresses,
telephone numbers, communications, bank records, wire transfer receipts and illegal
activities of associates in drug trafficking activities;

(c) Indicia of occupancy, residency or ownership of the premises and things
described in this warrant, including but not limited to utility bills, telephone bills, loan
payment receipts, rent receipts, trust deeds, lease or rental agreements and escrow
documents;

(d) Records, items and documents reflecting travel for the purpose of
participation in controlled substance trafficking including passports, airline tickets,
credit card receipts, travel vouchers, motel/hotel receipts, rental car receipts and
documentation, wire transfer receipts, maps and written directions to locations;

(e)  Financial/Drug records, including but not limited to, books, records and
documents used, intended for use, or concerning manufacturing and distribution of
methamphetamine, and association with others involved in the manufacturing and
distribution of methamphetamine, or facilitation of the wansportation, sale, receipt,
possession of concealment of methamphetamine, to include, but not limited to writings,
photographs, calendars, "Things to do" schedules, and similar items:

(if) Hand written notes concerning prices, quantities, sales, loans, "pay and
owe” records indicating sales and balances owed for methamphetamine sales, or any
other account books, ledgers and notes relating to above individuals drug trafficking
activities, in any form; typed instructions regarding any of the above; encoded and/or
cryptic information whether in writing or contained within pagers, cellular telephones,

ATTACHMENT B -1

 

 
 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 5 of 31

computers/computer fapes and disks, together with hardware and software, instruction
manuals to allow interpretation and retrieval of information stored therein, as well as
the computer themselves, word processors or similar equipment containing information
concerning methamphetamine distribution, or association with those involved in
methamphetamine distribution, to include computers, floppy disks, back up disks,
software instruction, and the computers, word processors or other similar equipment
itself, together with any software used to operate said equipment;

(g) Correspondence and envelopes, personal telephone and address books,
together with telephone toll records, travel records, receipts, airline tickets, and auto
rental agreements, invoices and other memorandum disclosing acquisition of assets,
both personal and business in nature, retained copies of financial statements, loan
records, mortgages, deeds, titles, certificates of ownership and registration docutnents,
state and federal income tax returns, both individual and corporate; any stored
information contained on any telephone answering machine/tape(s)pertaining to any of
the above, as well as documentary evidence indicating past, present, or intended
possession of methamphetamine or any equipment described in this exhibit,

(h) Storage locker contracts, keys, codes, and associated documentation;
together with any other evidence of narcotics profits and/or proceeds, and items
purchased with proceeds, such as U.S, currency, coins, gems, financial and negotiable
instruments, securities, precious metals, jewelry, vehicle registration receipts; a3 well
as other items of identification such as vehicle registrations, vehicle titles, driver
licenses, letters, bills, receipts, fingerprints, property titles, records relating to
obtaining, transferring, secreting or spending money to include bank account records,
including checking, savings, and investments accounts, safe deposit box keys and rental
applications and signature cards, stocks, bonds, financial accounts, airline tickets,
boats, vehicles and other items of value as well as evidence regarding the concealment
of the source and ownership of such cash, proceeds and items of value by use of false
names, aliases, postal box addresses, addresses of relatives and acquaintances,
corporations and other devices as well as records, receipts, notes, identification
documents and other papers indicating that the persons named above are presently using
aliases or assumed names in order to hide and conceal themselves trom law
enforcement authorities to disguise their current activities;

(i) Scales, cutting materials, baggies, and other packaging materials; and

(j) Large quantities of cash.

ATTACHMENT B -2

 

 
id

ll

12

13

14

15

16

17

18

19

20

2]

22

23

25

26

2]

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 6 of 31

 

AFFIDAVIT
STATE OF WASHINGTON
5
COUNTY OF KING )

I, ROBERT J. ALLEN, being first duly sworn, state as follows:

1. [am an investigative law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section, 2510(7), who is empowered by
law to conduct investigations of, and to make arrests for, offenses enumerated in Title
18, United States Code, Section 2516,

2. I am employed as a Special Agent ("S/A") with the Drug Enforcement
Administration ("DEA"), and have been so employed since 1998, I am currently
assigned to the DEA Salem Office, in Salem, Oregon and have been for the past two
years. Before my assignment to tle DEA Salem Office, I was assigned to the DEA
Regional Enforcement Team in Des Moines, Iowa for three years. Before my
assignment to RET, I was assigned to DEA office in McAllen, Texas for approximately
two years. In connection with my official DEA duties, I investigate criminal violations
of the federal controlled substance laws, I have received special training in the
enforcement of laws concerning controlled substances as found in Title 21 of the United
States Code. I have attended the FBI/DEA Training Academy in Quantico, Virginia
for a sixteen-week training in investigative law enforcement, including investigation
and enforcement of controlled substance offenses. [ have received in excess of one
hundred hours of training in the use and identification of controlled substances and in
the investigation of controlled substance crimes in additional in-service courses. In
2004, I attended a one-week clandestine laboratory school taught by DEA at Quantico,
Virginia and | personally produced methamphetamine using the red phosphorus
production method. I am certificd to assist in clean-up and investigation of clandestine
methamphetamine production laboratories. [ have assisted in the investigation and

clean up of at least five clandestine methamphetamine laboratorics, I have been the

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - | UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SBATTLE, WassinGTon YB11- 427]
(2007 555-7970) 553-797

|

 

 
 

18

14

20

21

22

23

24

23

27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 7 of 31

lead investigator in more than fifty felony drug cases. I am familiar with how drugs
are packaged, transported, manufactured and sold, and how some drug trafficking
organizations operate.

3. T have testified in judicial proceedings concerning violations of the
controlied substance laws. [ have been involved in various types of electronic
surveillance, and in the debriefing of defendants, witnesses and informants, as well as
others who have knowledge of the distribution and transportation of controlled
substances, and of the laundering and concealing of proceeds from controlled substance
trafficking. I have applied for, executed and assisted with more than 100 search
wattants on natcotic related investigations.

4. I have received training in investigations involving the interception of
wire and oral communications. I am familiar with the ways in which controlled
substance traffickers conduct their business, including, but not limited to, their methods
of importing and distributing controlled substances, their use of telephones and digital
display paging devices, and their use of numeric codes and code words to conduct their
transactions.

5. AS part of my investigation in this case, ] have consulted with DEA Task
Force Agent ("TFA") Len Braithwait and Portland Police Bureau ("PPB") Investigator
Justin Faw, in regards to facts and probable cause, and I have been involved in the
investigation of CAULFIELD since July, 2003. TFA Braithwait has been involved in
this investigation since December, 1999,

6. This affidavit is submitted in support of an Application for a Search
Warrant to search the structures located at the following addresses, as more specifically
described in Attachment A, which I believe are being used to conceal certain articles
described within this affidavit, which may be instrumentalities, fruits, and evidence of
violations of Title 21, United States Code, Sections 841(a)(1), 843(b), 846, and 856:

a. 1055 Cloverdale Road, Kalama, Washington; atid
b. 129 Vincent Road, Kalama, Washington.

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 2 UNITED STATES ATIORNEY
700 StGWART STREES, SUITE 5220
SFATILE, WASTIMEFTON 98101-1271

(206) 553-7070) 543-7970

 

 
10
It
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
2?

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 8 of 31

7. This affidavit also is submitted in support of that same Application for a
Search Warrant to search the following vehicles, as more specifically described in
Attachment A, which I believe are being used to conceal certain articles described
within this affidavit, which may be instrumentalities, fruits, and evidence of violations
of Title 21, United States Code, Sections 841(a)(1}, 843(b), 846, and 856:

a. 1979 Red Chevrolet Pickup, Washington License A56020E,
VIN/CCD146J152903; and

b. 1990 Yellow Ford Van/Truck, Washington License A21529E,
VIN/1FDKE37G5LHB21297.

g. The items that are the subject of the search and seizure applied for in this
affidavit are as follows, as more specifically described in Attachment B, which is
attached hereto and incorporated herein by reference:

a. Controlled substance ledgers, or money ledgers, controlled
substance distribution lists or customer lists, controlled substance supplier lists,
correspondence, notations, logs, receipts, journals, books, ledgers or other documents
noting the price, quantity and/or times when controlled substances were obtained,
transferred, sold, distributed and/or concealed;

b. Personal telephone and address books and listings, letters, cables,
telegrams, telephone bills, personal notes and other items reflecting names, addresses,
telephone numbers, communications, bank records, wite transfer receipts and illegal
activities of associates in drug trafficking activities;

c. Indicia of occupancy, residency or ownership of the premises and
things described in this warrant, including but not limited to utility bills, telephone
bills, loan payment receipis, rent receipts, trust deeds, lease or rental agreements and
escrow documents;

d. Records, items and documents reflecting travel for the purpose of
participation in controlled substance trafficking including passports, airline tickets,

credit card receipts, travel vouchers, motel/hotel receipts, rental car receipts and

AFFIDAVIT GF SPECIAL AGENT
ROBERT ALLEN - 3 UNIPED STATES ATTORNEY
7UO STEWART SunCDT, SUITE S220
SEATTLE, WashingroNn 98101-1271
(206) 553-7970) $53-7070

ee |

 

 
ig

11

12

13

14

15

16

7

18

19

20

21

22

23

27

28

 

  

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 9 of 31

 
 

documentation, wire transfer receipts, maps and written directions to locations;

€, Financial/Drug records, including but not limited to, books,
records and documents used, intended for use, or concerning manufacturing and
distribution of methamphetamine, and association with others involved in the
manufacturing and distribution of methamphetamine, or facilitation of the
transportation, sale, receipt, possession of concealment of methamphetamine, to
include, but not limited to writings, photographs, calendars, "Things to do" schedules,
and similar items;

f. Handwritten notes concerning prices, quantities, sales, loans, "pay
and owe" records indicating sales and balances owed. for methamphetamine sales, of
any other account books, ledgers and notes relating to above individuals drug
trafficking activities, in any form; typed instructions regarding any of the above;
encoded and/or cryptic information whether in writing or contained within pagers,
cellular telephones, computers/computcr tapes and disks, together with hardware and
software, instruction manuals to allow interpretation and retrieval of information stored
therein, as well as the computer themselves, word processors or similar equipment
containing information concerning methamphetamine distribution, or association with
those involved in methamphetamine distribution, to include computers, floppy disks,
back up disks, software instruction, and the computers, word processors or other
similar equipment itself, together with any software used to operate said equipment,

g. Correspondence and envelopes, personal telephone and address
books, together with telephone toll records, travel records, receipts, airline tickets, and
auto rental agreements, invoices and other memorandum disclosing acquisition of
assets, both personal and business in nature, retained copies of financial statements,
loan records, mortgages, deeds, titles, certificates of ownership and registration
documents, state and federal income tax returns, both individual and corporate; any
stored information contained on any telephone answering machine/tape(s)pertaining to

any of the above, as well as documentary evidence indicating past, present, or intended

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 4 UNITED STATRS ATTORNEY
70D STEWART STRERT, Surre 5220
SEATTLE, WASHINGTON 98101-1271
(i) 55-7970) 553-7970

_ ee |

 

 
11

12

13

i4

15

16

17

18

19

20

ai

a2

23

24

aa

26

a7

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 10 of 31

 

i

possession of methamphetamine or any equipment described in this exhibit;

h. Storage locker contracts, keys, codes, and associated
documentation; together with any other evidence of narcotics profits and/or proceeds,
and items purchased with proceeds, such as U.S. currency, coins, gems, fmancial and
negotiable instruments, securities, precious metals, jewelry, vehicle registration
receipts; as well as other items of identification such as vehicle registrations, vehicle
titles, driver licenses, letters, bills, receipts, fingerprints, property titles, records
relating to obtaining, transferring, secreting or spending money to include bank account
records, including checking, savings, and invesiments accounts, safe deposit box keys
and rental applications and signature cards, stocks, bonds, financial accounts, airline
tickets, boats, vehicles and other items of value as well as evidence regarding the
concealment of the source and ownership of such cash, proceeds and items of value by
use of false names, aliases, postal box addresses, addresses of relatives and
acquaintances, corporations and other devices as well as records, receipts, notes,
identification documents and other papers indicating that the persons named above are
presently using aliases or assumed names in order to hide and conceal themselves from
law enforcement authorities to disguise their current activities,

i. Scales, cutting materials, baggies, and other packaging materials;
and

j. Large quantities of cash.

9. The locations to be searched are as follows, as more specifically described
in Attachment A, which is attached hereto and incorporated herein by reference:

a. 1055 Cloverdale Road, Kalama, Washington, and is further
described as a residential two story, wood framed, dwelling, brown in color, with
white trim. The dwelling is located on a multi acre parcel of property, west of
Cloverdale Road and is accessed by a dirt road. The property contains one large
outbuilding/pole barn/garage south and east of the residence that is gray in color with a
tin roof; and

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 5 UNITED STATES ATTORNEY
700 STOWART STREET, Sure 5220)
SEATTLE, WASIDNGTON 98101-1271
(206) 353-7970) $53-7970

ce

 

 
   

10

it

12

13

14

15

16

26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 11 of 31

b. 129 Vincent Road, Kalama, Washington, and is further described
as are described three outbuildings located in close proximity to each other and are
further described as: (1) the northern most outbuilding is blue metal building with a
white roof and no windows; (2) the second outbuilding is gray/white in color with a
white roof, the front door is red and no windows; (3) the third outbuilding is a small
brown wooden building with a tin roof and no windows. All three out buildings are
located south of Vincent Road, east of a private easement road which accesses several
other private parcels and residences. The front doors to all three outbuildings face
west.

10. The vehicles to be searched are as follows, as more specifically described
in Attachment A, which is attached hereto and incorporated herein by reference:

a. 1979 Red Chevrolet Pickup, Washingion License A56020E,
ay CCD146J152903. The registered owner of this vehicle is Lanny R. Moore, 13904
NE‘ 64th Circle, Vancouver, Washington; and

b. 1990 Yellow Ford Van/Truck, Washington License A21529E,
VIN/1FDKE37G5LHB21297. The registered owner of this vchicle is ROBERT JOHN
CAULFIELD'S wife, Cindy Lou Rasmussen, 3609 Old Pacific Highway #5, Kelso,
Washington.

ii. Thave personally participated in this investigation and am familiar with
the information contained in this affidavit, The following information is derived from
my personal observation, surveillance, interviews and my review of physical evidence,
as well as my review of reports generated by law enforcement officials, and discussions
with other narcotics investigators who have personal knowledge of the matters covered
in those reports and discussions, and from conversations with persons who have
personal knowledge of the events described herein. Because this affidavit is being
submitted for the limited purpose of securing a search warrant, I have not included each
and every fact known to me concerning this imvestigation. I have set forth only the

facts that I believe are necessary to establish probable cause to believe that evidence of

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 6 UNICED STATES ATTORNEY
700 STEWART S1RELT, SUITE $220
Sea crit, WASHINGTON FSI01-1971

(20K) 553-7070) 553-7970

 

 

ec eeeenereessseeenemmeenitemne ae)
Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 12 of 31

 

1 || violations of Title 21, United States Code, Sections 841(a)(1) (manufacture,
2 | distribution and possession with the intent to distribute of a controlled substance),
3 | 843(b) (use of communication facility), 846 (attempt and conspiracy), and 856

4 || Gnaintaining drug-involved premises) is located at the above addresses.

5 RELEVANT FEDERAL STATUTES
6 12. Title 21, United States Code, Section 841(a)(1) makes it unlawful for

7 || “any person knowingly or intentionally .. . to manufacture, distribute, or dispense, or
8 || possess with intent to manufacture, distribute, or dispense, a controlled

9 || substance... ."

LO 13. Title 21, United States Code, Section 843(b), makes it unlawful "for any
11 | person knowingly or intentionally to use any communication facility in commiting or in
12 | causing or facilitating the commission of any act or acts constituting a [narcotics-

(3 | related] felony... .”

14 l4. = Title 21, United States Code, Section 846, provides that "[alny person

15 | who attempts or conspires to commit any offense defined in this subchapter shall be

16 || Subject to the same penalties as those prescribed for the offense, the commission of

17 | which was the object of the attempt or conspiracy."

18 15. Title 21, United States Code, Section 856, makes it unlawful to "(1

19 || knowingly open, lease, rent, use, or maintain any place... for the purpose of

20 || manufacturing, distributing, or using any controlled substance; (2) manage or control

21 || any place. . . either as an owner, lesee, agent, employee, occupant, or mortgagee, and
22 | knowingly and intentionally rent, lease, profit from, or make available for use, with or

23 | without compensation, the place for the purpose of unlawfully manufacturing, storing,

24 || distributing or using a controlled substance.”

25
26 ITEMS REGARDING NARCOTICS TRAFFICKING
27 16. Based on my training, experience, and participation in this investigation,

 

28 || as well as numerous other investigations involving the manufacturing and trafficking of

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 7 UNITED STATES ATTORNEY
70) STEWART STRLET, SUITE 5220
SEATTLE, WASHINGTON Y8101-1271
(200) $45-7T970) 553-7970

 

 
10
lk
12
13
14
15
16
7
18

19

21
22
23
24
25
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 13 of 31

large amounts of narcotics and my conversations with other experienced law
enforcement officers, I know the following facts, practices, and circumstances are
common to the manufacture and distribution of methamphetamine:

a. Drug traffickers, including those who manufacture and distribute
methamphetamine, retain large amounts of U.S. currency in order to maintain and
finance their ongoing drug business, or as drug proceeds;

b. Drug traffickers maintain books, records, receipts, notes, ledgers,
aitline tickets, money orders, cashier check receipts and other papers related to the
transportation, ordering, sale and distribution of controlled substances, even though
such documents may be in code, That drug traffickers commonly "front" drugs
(provide controlled substances on consignment) to their clients, and that records are
maintained by such dealers so they can account for their drug monies owed for these
legal drugs. That the aforementioned books, records, receipts, notes, ledgers and the
like are commonly maintained where drug waffickers have ready access to them,
including but not limited to homes, offices, automobile, and storage places;;

c. It is common for drug dealers to secret contraband, proceeds of
drug sales and/or records of drug transactions, drug sources, and drug customers in
secure locations within their residences, businesses, offices, garages, storage buildings,
safes, vaults, safe deposit boxes, vehicles, and obscure locations such as storage
containers buried underground, in order to conceal such items from law enforcement
authorities;

d. Persons involved in drug trafficking conceal caches of drugs, large
amounts of currency, financial instruments, precious metals, jewelry, and other items
of value and/or proceeds of drug transactions, and evidence of financial transactions
Telating to obtaining, transferring, secreting, or spending of large sums of money made
from engaging in drug trafficking activities in their residences, businesses, offices,

garages, storage buildings, safes, vaults, safety deposit boxes, and/or automobiles;

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - & UNITED STATES ATTORNEY
TH) STEWART STRECT, Sure S720
SEATTLE, WASHINGTON 98101-1273
(206) 553-7570) 543-797

ceil tice en el

 

 
14

15

If

24

25

26

27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 14 of 31

e. Drug traffickers commonly maintain addresses or telephone
numbers in books or papers which reflect names, addresses, and/or telephone tumbers
for their associates in the drug trafficking organization, even if said items may be in
code, and that these types of records are sometimes maintained in computers or other
electronic data storage devices;

f. Drug traffickers frequently take, or cause to be taken, photographs
and/or videos of themselves, their associates, their property, and their product, and that
these traffickers usually maintain these photographs and/or videos, in their residences,
offices, or other places under their control, and which are under the control of
unwitting persons,

g. Drug traffickers often keep paraphernalia for packaging, cutting,
weighting, manufacturing and distributing controlled substances, and that such
paraphernalia often includes, but is not limited to scales, plastic wrap, plastic bags, and
aromatic substances such as soap, dryer sheets, wood shavings, heat sealers and plastic
wrapping that are used to mask odor of illegal drugs in an attempt to avoid detection by
drug detection dogs;

h. It is common for drug dealers to deal/possess weapons, including
stolen weapons or other stolen goods and exchange drugs for such weapons or goods,
and these weapons are commonly used by drug dealers as an item of investment and for
protection from robberies by other drug dealers, and often are altered to fire fully
automatically;

i. When drug dealers collect proceeds from the sale of illegal drugs,
they often attempt to lepitimize these profits. Further, to accomplish this goal, drug
traffickers use sources, including but not limited to, foreign and domestic banks and
their attendant services, cashier's checks, money orders, wire transfers, and bank
drafts;

j. Drug dealers commonly utilize telephones, both residential and

cellular, and pagers as means of communication to conduct their trafficking "business";

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 9 UNITED STATES ATTORNEY
700 STEWART STREET, Sucre $220
SeaTTLe, WASHINGTON 9A10)-1271
(206) 553-7U70} 558-7570

 

 
13
14
15
16
17
18
1
20
21
22
23
24
25
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 15 of 31

K. Drug dealers often purchase expensive vehicles, businesses, and
residences with the proceeds from their drug transactions, and that they often keep
these items registered in the names of other trusted individuals in order to avoid
discovery by law enforcement;

1. With regard to the search of computers, I know that, for the
following reasons, searching and seizing computer information from computers often
requires agents to seize most or all of the electronic storage devices, along with the
related peripherals, to be searched later by a qualified computer in a laboratory or other
controlled environment:

i. Volume and Evidence - Computer storage devices, including
but not limited to, hard disks, floppy disks, diskettes, tapes, laser disks, and Bernoulli
drives can store the equivaleni of thousands of pages of information. Additionally, a
suspect may try to conceal criminal evidence by storing it in random order with
deceptive files names. Therefore, searching authorities must examine all stored data to
determine which files contain evidence of criminal activity. Depending on the volume
of data stored, this sorting process may take several weeks or months, and it would be
impractical to attempt this type of search on-site.

il. Technical Requirements - Searching computer systems for
criminal evidence is a highly technical process requiring expert skill and properly
controlled environment. The vast array of computer hardware and software available
requires computer experts to specialize in distinct systems and applications, and it is
difficult to know prior to a search which expert is qualified to analyze the particular
computer system and its data that is encountered. In addition, since data search
protocols are exacting scientific procedures designated to protect the integrity of the
evidence and to recover "hidden," erased, compressed, password-protected, or
encrypted files, and computer evidence is extremely vulnerable to inadvertent or

intentional modification or destruction (both from external sources or trom destructive

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 10 UNITED STATRS ATTORNEY
7) SrEWART STREET, Suitk 5220
Seatt_e, WASHINGTON 98101-1277)
(206) 553-7970) 553-7570

 

 
10
11
12
13

14

16
17

18

20
21
22
23
24
25
26
a7

23

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 16 of 31

codes imbedded in the system as a "booby trap"), a controlled environment is essential
to its complete and accurate analysis;

m. There até many reasons why criminal offenders maintain evidence
for long periods of time. The evidence may be innocuous at first glance (e.g. financial,
credit card and banking documents, travel documents, receipts, documents reflecting
purchases of assets, personal calendars, telephone and address directories, check books,
videotapes and photographs, utility records, ownership records, letters and notes, tax
returns and financial records, telephone and pager bills, keys to safe deposit boxes,
hardware and software computers), but have significance and relevance when
considered in light of other evidence. The evidence may be highly valuable to the
offender, and at the same time be of usefulness for evidentiary purposes, such as
valuable investments (e.g. art, jewelry precious metals and stones, real estate,
securities), large sums of currency, drug or money laundering ledgers, safes, customer
lists, firearms, communications equipment, vehicles, airplanes, vessels, computers,
counter surveillance equipment, scales and packaging equipment. The criminal
offender may no longer realize that he/she still possesses the evidence or believe that
law enforcement could obtain a search warrant to seize the evidence;

n. In my experience as a drug investigator, I have found that illegal
drug trafficking is a continuing activity over months and even years. Mlegal drug
traffickers will repeatedly obtain or manufacture and then distribute controlled
substances on a somewhat regular basis, much as any distributor of a legitimate
commodity would purchase stock for sale, and similarly such drug traffickers will have
an "inventory" which will fluctuate in size depending upon the demand for the product.
Certain types of drug paraphernalia, such as scales for use in weighing amounts of
controlled drugs at the time of purchase, plastic wrap and plastic bags for packaging
drugs for distribution and/or transportation, are often kept by a trafficker on an
essentially continuous basis for use whenever needed, Further, that traffickers keep

records of their illegal activities for months or years beyond. the time during which they

APFIDAVIT OF SPECIAL AGENT
ROEERT ALLEN - 1] UNITED STATES ATTORNEY

FOO STEWART STREET, Sure STM)
SEATTLE, WASINNGTON 98101-1271
(206) 55-7970) 555-7970
18

19

20

21

22

23

24

25

26

27

28

 

 

Case 3:05-mj-05032-GHK Document 1 Filed 02/22/05 Page 17 of 31

actually possess illegal controlled substances, in order to maintain contact with their
criminal associates for future drug transactions, and so that they can have records of
prior transactions for which, for example they might still be owed money, or might

owe someone else money;

o. Drug traffickers often maintain records of their illegal activities
and that these records are often kept in places that are readily accessible to them, such
as, but not limited to, the following: homes, residences, garapes, sheds, motorized
vehicles and vessels, enclosed trailers, storage lockers, and places of business or
employment. This stored information is commonly kept for extended periods of time,
much as a legitimate business might keep records of purchases and distributions, and of
what is payable and/or receivable. This is especially true when the chemical traffickers
and/or drug manufacturers activities include co-conspirators, large sums of money,
large amounts of drugs and/or chemicals, and have been carried out over an extended
period of time; and

p- I am aware that in the case of drug traffickers, evidence is likely to
be found where drug dealers live, and a search warrant may be properly issued against
a suspected drug dealer's residence, despite the lack of direct evidence of criminal

activity at the residence.

FACTS SUPPORTING PROBABLE CAUSE

17. Members of the DEA and the PPB are investigating a methamphetamine
manufacturing and distribution organization which was operated by ROBERT JOHN
CAULFIELD, David Russell Brown, and Rodney Douglas Griffec.

18. In September 1999, agents of the DEA, in conjunction with various local
and state law enforcement agencies began an investigation into the methamphetamine
distribution and manufacturing activities of Brown. The investigation began when a
large clandestine methamphetamine laboratory was discovered as a result of a fire on

rural property owned by Brown: 21131 and 21151 Bridge Creek Road SE Silverton,

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 1? UNITED STATES ATTORNEY
FOU STEWART StRERT, Sure 5220
SCATEILE, WASHINGTON 93101-1271
(208) 553-7970) £83-7970

 
lo
MW
12
13
14
15

16

18
Ig
20
21
22
23
24
25
26
27

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 18 of 31

Oregon. An analysis by the DEA Western Laboratory, of items seized from Brown's
property, confirmed that the laboratory was capable of producing multiple pound
quantities of methamphetamine.

19. In December of 2003, a federal prand jury returned a sealed indictment
entitled United States v. David Russell Brown, CR No. 03-539-BR, for violations of
Title 21 United States Code Sections 853 and 856, Title 18 United States Code Sections
253 and 856 related to this clandestine methamphetamine laboratory for maintaining
premises where controlled substances are manufactured.

20. On January 29, 2004, law enforcement officers arrested Brown on an
outstanding federal arrest warrant that was issued as a result of the investigation into
the crimes that occurred in 1999. After Brown was arrested, law enforcement officers
served federal search warrants at his residence in Portland, Oregon, at a storage facility
where Brown had rented storage units and on Brown's vehicle. Officers seized two
pounds of methamphetamine from Brown's residence, as well as approximately sixty
pounds of red phosphorus trom a storage locker. Officers also seized several pounds of
red phosphorus and an ounce of methamphetamine from Brown's vehicle. I know from
my training and experience that red phosphorus is a necessary ingredient in
manufacturing methamphetamine.

21.  Lobtained Brown's Oregon State Criminal History Record through the
LEDS system, which includes the period from 1980 to the present. From this criminal
history, I learned that Brown was convicted in the State of Oregon, Clackamas County
Circuit Court for Manufacturing a Controlled Substance, and two counts of Possession
of a Controlled Subsiance in 1989. He was also convicted of Hunting with Artificial
Light in 1983.

22. Following his arrest and arraignment, Brown began cooperating with the
government pursuant to a proffer agreement, and later a plea agreernent in the hope of
recelving a benefit fur his cooperation. Brown had pleaded guilty to a one count

Superseding Information in United States vy. David Russell Brown, United States

ATFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 13 UNITED STATES ATTORNEY

700 STEWART STREFT, Sure 5220
SEATILE, WASHINGTON $8101 -1371
(320i) 353-7970) 553-7970

 
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 19 of 31

District Court for the District of Oregon, Case No. CR 03-539-BR, charging him with
one count of Conspiracy to Distribute Methamphetamine. Brown's case is pending
sentencing.

23. On March 4, 2004, TFA Braithwait and I spoke to Brown about his
knowledge of CAULFIELD'S involvement in the distribution and manufacturing
methamphetamine. Brown said that CAULFIELD, Griffee, and himself, all decided to
go into business together and they started manufacturing methamphetamine. Brown
said when they made the decision Brown was residing at 21131 and 21151 Bridge
Creek Road SE, Silverton, Oregon. (This is the same address previously mentioned in
above, where law enforcement officers discovered a large methamphetamine laboratory
following a fire.)

24. Brown told me that a few years prior to the fire on his property in 1999,
CAULFIELD, Griffee, and Brown met atid they agreed to manufacture and distribute
methamphetamine together. Brown explained that CAULFIELD would get fifty
percent of the manufactured methamphetamine and that Griffee and Brown would split
the other fifty percent of the drug. Brown stated that CAULFIELD could provide the
ephedrine/pseudoephedrine and Griffee would supply the iodine as well as distributing
Brown's portion of the methamphetamine. Brown said that he and CAULFIELD
manufactured the methamphetamine and Griffee would distribute Brown and Griffce's
share of the methamphetamine. CAULFIELD distributed his half of the
methamphetamine on his own. Brown said when they started manufacturing
methamphetamine, Brown and Griffee manufactured methamphetamine two or three
times on Brown's Silverton property. After the two or three occasions manufacturing
methamphetamine with Griffee, Brown began manufacturing the methamphetamine
with CAULFIELD instead of Griffce.

25. Brown stated that he and CAULFIELD would normally manufacture four
pounds of methamphetamine twice a week. Brown said that he and CAULFIELD
shared the duties of manufacturing the methamphetamine. Brown stated that after the

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 14 UNITED STATES ATTORNEY
TOY STEWART STREET, Sucre S220
SEATTLE, WASHINGTON 9RID1-L271
(206) 593-7970) 553-7970

2s

 

 
6
7
18
19
a)
21
22
23
24
25
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 20 of 31

manufacturing process was complete, CAULFIELD would distribute eighteen to
twenty-one ounces of methamphetamine. Brown said he would give his share of the
methamphetamine to GRIFFEE and he would distribute it for him.

26. On March 8, 2004, Brown told TFA Braithwait and me that between 1997
and 1999, CAULFIELD brought his own chemicals thal were used to manufacture
methamphetamine. Brown said he would manufacture methamphetamine with
CAULFIELD and that they shared cooking vessels and glassware. Brown said after the
manufacturing process was complete CAULFIELD took his share of the
methamphetamine - approximately eighteen to twenty-one ounces on each occasion.
Brown said CAULFIELD would distribute the methamphetamine without any
assistance from himself or Griffee. Brown said he had traded precursor chemicals with
CAULFIELD when CAULFIELD had a supply of the chernical he needed. BROWN
said he and CAULFIELD kept a running balance sheet between them and periodically
they would square the balance.

27. Brown lett the country shortly after the fire in 1999. Brown said he
Teturned to the United States in the early months of 2000 and he met with
CAULFIELD again. Brown said CAULFIELD, and a subject known as “Bobby”
manufactured large amounts of methamphetamine six different times at a house that is
located on the Lewis River, east of Woodland, Washington, Brown described "Bobby"
as an American Indian from Tucson, Arizona. Brown said they attempted to
manufacture twenty pounds of methamphetamine during each manufacturing process.
Brown said they yielded between ten to fifteen pounds of finished methamphetamine
after each process. Brown said they valued the methamphetamine at $900.00 an outice
and they would get between $144,000 and $216,000 for each batch.

28. On March 11, 2004, TFA Len Braithwait and I showed Brown a
photograph of a residence located 4510 Old Lewis River Road, Woodland,
Washington, BROWN stated that the residence in the photograph was the residence

AFFIDAVIT GP SPECIAL AGENT

ROBERT ALLEN - 15 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5720
SEATILE, WASHINGTON 981U-1271
(20K) 553-7970) 553-7970)

 
id
Il
12

13

15
16
7
18
19
20
21
22

23

25
26
27

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 21 of 31

where Brown, CAULFIELD, and "Bobby" cooked methamphetamine, starting in the
early part of 2000.

29. TEA Braithwait and I showed Brown a photograph of the same residence
that was taken from a different vantage. BROWN identified this photograph as being
the same residence. BROWN pointed out the windows in the area above the garage
and explained that behind the window are regular curtains and then each window is
covered on the inside with either black or semi-clear plastic.

30. Brown said CAULFIELD was responsible for the payment of the storage
atea that is located above the garage. Brown said CAULFIELD would pay the owner
with both cash and methamphetamine. Brown did not remember the property owner's
name. Brown said CAULFIELD would store waste and remnants from the
methamphetamine manutacturing above the gatage. Brown said CAULFIELD would
attempt to re-manufacture the waste in an attempt to obtain addition methamphetatnine.
Brown said he and CAULFIELD usually had three cooking vessels operating during the
manufacturing process. Brown said two of the cooking vessels were his and one vessel
belonged to CAULFIELD. Brown said on one occasion CAULFIELD brought
"Bobby" to the manufacturing location so he could do CAULFIELD'S share of the
physical labor. Brown said CAULFIELD was lazy. Brown said he and CAULFIELD
were fifty-fifty partners in the methamphetamine manufacturing process and they would
split the product in half between them.

31. Brown told me that the property owner was present at different occasions
during the manufacturing process. Brown said the property owner was anxious for the
pracess tu be complete sa he would get his portion of the methamphetamine. Brown
said the property owner was given an extra ounce of methamphetamine if the
pseudoephedrine pills were crushed and pulled from the binder on his property. Brown
said the last time he and CAULFIELD manufactured methamphetamine at the Old

Lewis River address was in October ot November of 2002.

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 16 UNITED STATES ATTORNEY

9700 STCWART STRERT, Suite $220
SEATTLE, WASHINGTON 98111-1271
Ci} 853-7070) 553-7970

 
20
21
22
23
24
25
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 22 of 31

32, TFA Braithwait and I showed Brown a photograph of a residence located
at 4390 Old Lewis River Road, Woodland, Washington. Brown identified this
residence as the rental house that CAULFIELD and his wife, Cindy lived in from the
early months of 2000 to October or November 2002. Brown said this was the same
time period that they were manufacturing methamphetamine.

33. Brown told me that after Brown and CAULFIELD manufactured
methamphetamine for the last time (around December 2002) on the Old Lewis River
property, Brown and CAULFIELD met about every six weeks so they conduct
inethamphetamine business. Brown said they would meet at either Damon's Restaurant
or Waddles Restaurant, which are both located on Hayden [sland, in Portland, Oregon.
During some of the meetings they would discuss money that CAULFIELD owed
Brown, during other meetings the two men exchanged either methamphetamine, or
chemicals that were going to be used to manufacture methamphetamine. Brown said he
and CAULFIELD would use the coded words “the rib place" in speaking on the
telephone to arrange a meeting at Damon's restaurant and that they would use the coded
words “the duck place” for a meeting at Waddle’s Restaurant.

34. On September 16, 2003, Portland Police DVD Officer Justin Faw and |
observed a meeting between CAULFIELD and Brown at Damon's Restaurant located
on Hayden Island, Portland, Oregon.

35. On March 31, 2004, TFA Braithwait and I interviewed Janet Moe and
Rodney Foresberg of 4510 Old Lewis River Road. Janet Moe and Rodney Foresberg
are the landlords of 4390 Old Lewis River Road. Foresberg told us that two or three
years ago CAULFIELD asked him if he could use his property to cook
methamphetamine. Foresberg told us that for usage of his loft in his residence he
would receive $3,000.00 and 1/2 ounce of methamphetamine as payment. On July 22,
2004, TFA Braithwait acquired the rental agreement between Moe and CAULFIELD
for the rental of 4390 Old Lewis River Road.

APFIDAVIF OF SPECIAL AGENT

ROBERT ALLEN - |? UNITED STATES AVIORNEY
700 SYEWAKT STREET. SUITE 52211
SEATTLE, WasHinGTON 94101-1271
(206) 383-7970) 353-7970

 
il
12
13
14
15
16
17
18
19
20
21
22
23
2d
25
26
27

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 23 of 31

36, On January 29, 2004, law enforcement officers arrested Griffee on an
outstanding federal arrest warrant for three sales of methamphetamine that occurred in
2001. Following his arrest, Griffee began cooperating with the government pursuant to
a proffer agreement and later a plea agreement in the hope of receiving a benefit for his
cooperation. Griffee pled guilty to on count of Distribution of five grams or more of
Methamphetamine in United States v. Rodney Douglas Griffee, United States District
Court for the District of Oregon, Case No, CR 03-564-HA. This case is pending
sentencing.

37. obtained Gritfee's Federal Bureau of Investigation record through the
LEDS system and learned from that record that in 1994 Rodney Douglas Griffee was
convicted in United States District Court for Attempting to Manufacture
Methamphetamine in violation of Title 21 United States Code Sections 841 and 846,
and was sentenced to 57 months prison to be followed by five years supervised release.
I obtained Rodney Douplas Griffee's criminal history from the Oregon State Police
through the LEDS system, which includes the period from 1980 to the present. From
this criminal history I learned that Rodney Douglas Griffee has been convicted in the
State of Oregon of the following felonies: Possession of a Controlled Substance in
1987, Felon in Possession of a Weapon in 1987, Theft I in 1985, Forgery 1 in 1985,
two counts of Theft I in 1982. He was also convicted of misdemeanor Failure to
Appear II and Failure to Pay Fine in 1980.

38. On May 4, 2004, TFA Braithwait and I spoke to Griffee. Griffee said at
least one year prior the 1999 fire at the Bridge Creek, Silverton, Oregon property, he
was approached by Brown to manufacture methamphetamine. Griffee said Brown
wanted Griffee to teach Brown the red-phosphorous methed of producing
methamphetamine, Griffee said Brown was willing to pay Griffee $20,000 for his
teaching services. Griffee stated that he introduced CAULFIELD to Brown and that
CAULFIELD is a methamphetamine cook. Griffee stated that CAULFIELD had

expertise in drying methamphetamine during its final stage of production, Griffee said

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 18 UNITED STATES ATTORNEY

TOO STEWART STREET, frre 32}
SeATTLE, WASHINGTON 98101-1271
{30} 553-7970) 953-7970

 
16

17

18

19

21

22

24

25

27

28

 

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 24 of 31

that Brown, CAULFIELD, and Griffee manufactured ten pounds of methamphetamine
about every two weeks. Griffee said they used the red-phosphorous method to
manufacture the methamphetamine. Griffee said they manufactured on the Silverton,
Oregon property until the fire occurred on September 16, 1999.

39. On April 13, 2004, other agents and I identified the residence located at
749 Taylor Road, Kalama, Washington as the residence where CAULFIELD lived until
December 10, 2004. I also identified vehicles used by CAULFIELD as a 1979 Chevy
Pickup, bearing Washington plates A56020E ("Chevy Pickup") and a large yellaw 1990
Ford van/truck bearing Washington plates A21529E ("Ford Van/Truck"). Other
officers and J saw CAULFIELD driving a Chevy Pickup on multiple occasions
following June, 2004, Portland Police Officer Justin Faw saw CAULFIELD driving
the Ford Van/Truck on December 10, 2004. I ran an NCIC/LEDS check on the Chevy
Pickup and learned that the registered owner is Lanny R. Moore, 13904 NE 64th
Circle, Vancouver, Washington. [ ran an NCIC/LEDS check on the Ford Van/Truck
and learned that the vehicle is registered to CAULFIELD'S wife Cindy CAULFIELD,
under her maiden name Rasmussen.

40. On Decetnber 10, 2004, Portland Police Officer Justin Faw observed
CAULFIELD moving out of his residence at 749 Taylor Road, Kalama, Washington.
Officer Faw observed CAULFIELD moving all of his household goods, including
furniture, refrigerator, personal items his Ford Van/Truck to 129 Vincent Road,
Kalama, Washington. Officer Faw observed CAULFIELD take several trips from
749 Taylor Road to 129 Vincent Road. Some of the items moved were in
CAULFIELD'S Chevy Pickup and other items were moved in a rental U-Haul truck.
Officer Faw observed that no stops were made traveling from 749 Taylor Road,
Kalama, Washington to 129 Vincent Road, Kalama, Washington. Officer Faw
observed that the trucks stayed at 129 Vincent Road for several hours before traveling
back to 749 Taylor Road. I believe based on Officer Faw's observations that

CAULFIELD stored his household goods and personal belongings on the property of

APPIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 19 UNITED STATES ATTORNEY
700 STEWART STREET, Surre 3220
SGaATTLo, WASHINGTON FS101-1271
(2006) 553-7070) $53-7970

 

 
10

2

12

13

14

15

1?

18

20

21

22

23

24

26

27

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 25 of 31

129 Vincent Road in one or more of the outbuildings. Due to the extreme rural
location of 129 Vincent Road it was difficult for surveillance to identify which of the
three outbuildings on 129 Vincent Road CAULFIELD uses to store his household
goods. Between December 10, 2004 and the date of this affidavit, CAULFTELD'S
yellow truck has been parked at 129 Vincent Road, Kalama, Washington and agents
have not observed CAULFIELD move any of the household goods from that location.
I received landowner records on the property and learned that Bruce and Betty Wright
are the legal owners of 129 Vincent Road and that Earl Wright is paying the electric
bill.

41. On December 11, 2004, ] went to the Kalama School District and learned
that CAULFIELD told the school administrators he was moving to 1055 Cloverdale
Road, Kalama, Washington and that his son Levi Caulfield would need to be dropped
off by the school bus at 1055 Cloverdale Road, Kalama, Washington, after school. On
January 7, 2005, I followed a Kalama school bus to 1055 Cloverdale Road and
observed Levi Caulfield getting off the bus and walking towards the 1055 Cloverdale
Road address. Since December 11, 2004, other agents and I have observed
CAULFIELD'S Chevy Pickup and CAULFIELD at 1055 Cloverdale Road. I have
learned through record checks that the property is owned by and utilities are paid by
Daniel E. Veberes. Other officers and I have observed CAULFIELD'S Chevy Pickup
parked at this residence in the early morning hours and late evening hours since from
December 10, 2004 through February 16, 2005. To the best of my knowledge, the
Chevy Pickup remains parked in the same location. I have observed the CAULFIELD
and his vehicle at this residence for extended periods of time.

42. In January 2005, CAULFIELD was indicted by a federal Grand Jury m
the District of Oregon for Conspiracy to Manufacture Methamphetamine in a sealed
indictment. I know from reviewing CAULFIELD'S Federal Bureau of Investigation
record through the LEDS system that CAULFIELD was convicted in Marion County in

1977 for criminal activity drugs, has been arrested twice for narcotic related offenses,

AFFIDAVIT OF SPECIAL AGENT
ROBERT ALLEN - 20) UNITED STATES ATTORNEY

700 STEWART STREET, SWITR $2217
SEATTLE, WaASINGTON OS101- 1271
(206) 533-7970) $53-7U70

 
10
i
12
13
14
15
16
i7
18
19
20

21

23

2
26
27

28

 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 26 of 31

and had two counts dismissed in 1996 for controlled substance offense and possession
of firearm,

43. Ihave been involved with numerous search warrants executed for the
seizure of documents, records, and/or proceeds of the sale of drugs. In almost all
cases the search warrants have resulted in the seizure of drugs, records, and/or records
of assets acquired from the sale of controlled substances. Also in my training and
experience I have become aware that the actions of narcotics traffickers, money
laundering violators, and their associates, it is necessary to search for and to seize
records that disclose the accumulation, disposition, and secreting of the proceeds and

profits derived from the sale ot controlled substances.

CONCLUSION

44. Based upon all of the information set forth in this application, 1
respectfully submit that there is probable cause to believe that the instrumentalities,
fruits, and evidence of violations of Tifle 21, United States Code, Sections 841(a)(1),
846, and 856 are present at or in the following locations and vehicles: (a)1055
Cloverdale Road, Kalama, Washington; (b) 129 Vincent Road, Kalama, Washington;
(c) 1979 Red Chevrolet Pickup, Washington License A56020F, VIN/CCD146J152903,
and (d) 1990 Yellow Ford Van/Truck, Washington License A21529E,
VIN/LFDKE37G5LHB21297, as further described in Attachment A, which is attached
hereto and incorporated herein by reference.

45. In consideration of the foregoing, I respectfully request that this Court
issue an order authorizing the search of the following locations, as more specifically
described in Attachment A, which is attached hereto and incorporated herem by
reference:

a. 1055 Cloverdale Road, Kalama, Washington; and
bd. 129 Vincent Road, Kalama, Washington,

AFFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN - 31 UNITED STATES ATTORNEY
700 STEWART SIeLET, SUITE $220
SEATTLE, WASHINGCON 9W1U1-1271
(20) §53-7970) 543-7970

 

 
10
Il
12
13
14
15
16
i7
18
19
20

21

24

26

27

28

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 27 of 31

for the items, materials and records more specifically identified and described in
Attachment B, which is attached hereto and incorporated herein by reference.

46. In consideration of the foregoing, I respectfully request that this Court
issue an order authorizing the search of the following vehicles, as more specifically
described in Attachment A, which is atiached hereto and incorporated herein by
reference:

a, 1979 Red Chevrolet Pickup, Washington License A56020E,
VIN/CCD146J152903;

b, 1990 Yellow Ford Van/Truck, Washington License A21529E,
YIN/1FDKE37G5LHB21297,
for the items, materials and records more specifically identified and described in

Attachment B, which is attached hereto and incorporated herein by reference.

flea

ROBERYJ. ALLEN, Special Agent
Drug Eytorcement Administration

 

_
Subscribed to and Sworn to before me this /7 day of February, 2005.

fe.

 

APFIDAVIT OF SPECIAL AGENT

ROBERT ALLEN = 22 UNITED STATES ATTORNEY
JOU STEWART STREET, Suite 3220
SEATILD, WASHINGTON 98101-1271
(26) 553-7970) 553-7470
 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 28 of 31

ATTACHMENT A

PROPERTY TO BE SEARCHED

1. 1055 CLOVERDALE ROAD, KALAMA, WASHINGTON

1055 CLOVERDALE ROAD, KALAMA, WASHINGTON is described as a
residential two story, wood framed, dwelling, brown in color,
with white trim. The dwelling is located on a multi acre parcel
of property, west of Cloverdale Road and is accessed by a dirt
road. The property contains one large outbuilding/pole
barn/garage south and east of the residence that is gray in
color with a tin roof and is further referenced by attached

photograph.

 

2. THREE OUTBUILDINGS LOCATED ON THE REAL PROPERTY AT 129
VINCENT ROAD, KALAMA, WASHINGTON

THREB OUTBUILDINGS LOCATED ON THE REAL PROPERTY AT 129 VINCENT
ROAD, KALAMA, WASHINGTON are described three sutbuildings
located in close proximity to each other and are further
described as: 1) the northern most outbuilding is blue metal
building with a white roof and no windows; 2) the second
outbuilding is gray/white in color with a white roof, the Front
door is red and no windows; 3) the third outbuilding is a small
brown wooden building with a tin roof and no windows. All three
out buildings are located south of Vincent Road, east of a
private easement road which accesses several other private
parcels and residences. The front doors to all three

 
Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 29 of 31

outbuildings face west and are further referenced by attached
photograph.

 

3. 1979 Red Chevrolat Pickup, Washington Licenge AS56020E,
VIN /€CD1467152903 further deseribed by attached photographs.

 

a. 1990 Yellow Ford Van/Truck, Washington License A21529E,
VIN/ LF DRE37G5LHB21297

 

ta
 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 30 of 31

ATTACHMENT B

The following records, documents, and other items, in whatever form, that
constiqte instrumentalities, fruits, and evidence of violations of Tithe 21, United States
Code, Sections §41(a)(1), 843(b), 846, and 856:

(a) Controlled substance ledgers, or money ledgers, controlled substance
distribution lists or customer lists, controlled substance supplier lists, correspondence,
notations, logs, receipts, journals, books, ledgers or other documents noting the price,
quantity and/or times when controlled substances were obtained, transferred, sold,
distributed and/or concealed:

(b) Personal telephone and address books and listings, letters, cables,
teleprams, telephone bills, personal notes and other items reflecting names, addresses,
telephone numbers, communications, bank records, wire transfer receipts and illegal
activities of associates in drug trafficking activities;

(c) Indicia of occupancy, residency or ownership of the premises and things
described in this warrant, including but not limited to utility bills, telephone bills, loan
payment receipts, rent receipts, trust deeds, lease or rental agreements and escrow
documents;

(d) Records, items and documents reflecting travel for the purpose of
participation in controlled substance trafficking including passports, airline tickets,
credit card receipts, travel vouchers, motel/hotel receipts, rental car receipts and
documentation, wire transfer receipts, maps and written directions to locations;

(e)  Financial/Drug records, including but not limited to, books, records and
documents used, intended for use, or concerning manufacturing and distribution of
methamphetamine, and association with others involved in the manufacturing and
distribution of methamphetamine, or facilitation of the transportation, sale, receipt,
possession of concealment of methamphetamine, to include, but not limited to writings,
photographs, calendars, "Things to do" schedules, and similar items;

(f) Hand written notes concerning prices, quantities, sales, loans, "pay and
owe" records indicating sales and balances owed for methamphetamine sales, or any
other account books, ledgers and notes relating to above individuals drug trafficking
activities, in any form; typed instructions regarding any of the above; encoded and/or
cryptic information whether in writing or contained within pagers, cellular telephones,

ATTACHMENT 8 -1

 

 
 

 

Case 3:05-mj-05032-GHK Document1 Filed 02/22/05 Page 31 of 31

computers/computer tapes and disks, together with hardware and software, instruction
Thanuals to allow interpretation and retrieval of information stored therein, as well as
the computer themselves, word processors or similar equipment containing information
concerning methamphetamine distribution, or association with those involved in
methamphetamine distribution, to include computers, floppy disks, back up disks,
software insiruction, and the computers, word processors or other similar equipment
itself, together with any software used to operate said equipment;

(¢) Correspondence and envelopes, personal telephone and address books,
together with telephone toll records, travel records, receipts, airline tickets, and auto
rental agreements, invoices and other memorandum disclosing acquisition of assets,
both personal and business in nature, retained copies of financial statements, loan
records, mortgages, deeds, titles, certificates of ownership and registration documents,
state and federal income tax returns, both individual and corporate; any stored
information contained on any telephone answering machine/tape(s)pertaining to any of
the above, as well as documentary evidence indicating past, present, or intended
possession of methamphetamine or any equipment described in this exhibit;

(h) Storage locker contracts, keys, codes, and associated documentation,
together with any other evidence of narcotics profits and/or proceeds, and items
purchased with proceeds, such as U.S. currency, coins, gems, financial and negotiable
instruments, securities, precious metals, jewelry, vehicle registration receipts; as well
as other items of identification such as vehicle registrations, vehicle titles, driver
licenses, letters, bills, receipts, fingerprints, property titles, records relating to
obtaining, transferring, secreting or spending money to include bank account records,
including checking, savings, and investments accounts, safe deposit box keys and rental
applications and signature cards, stocks, bonds, financial accounts, airline tickets,
boats, vehicies and other items of value as weil as evidence regarding the concealment
of the source and ownership of such cash, proceeds and items of value by use of false
names, aliases, postal box addresses, addresses of relatives and acquaintances,
corporations and other devices as well as records, receipts, notes, identification
documents and other papers indicating that the persons named above are presently using
aliases or assumed names in order to hide and conceal themselves from law
enforceiment authorities to disguise their current activities,

(i) Seales, cutting materials, baggies, and other packaging materials; and

(j) Large quantities of cash.

ATTACHMEMT B -2

 

 
